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                            IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

               Plaintiff,

vs.                                                           No. 18 CR 3475 WJ

ROBERT DUNSWORTH,

               Defendant.

                     8th UNOPPOSED MOTION TO CONTINUE TRIAL
                              AND MOTION DEADLINES

       NOW COMES the defendant, Robert Dunsworth, by and through his counsel, Irma Rivas,

Assistant Federal Public Defender, and moves the Court to continue the trial set for May 4, 2020.

       As grounds for this request, counsel states:

       1.      Under the Speedy Trail Act, a trial must commence within seventy days of the

Defendant’s first appearance in District Court, the filing of an Information, or the return of an

Indictment, whichever is later. 18 U.S.C. § 3161, subd. [c][1]. However, some delay can be

excluded from this seventy-day requirement if the Defendant files pre-trial motions, if the

Defendant is subjected to other, related proceedings, or if the District Court determines that the

ends of justice will be served by granting the requested continuance. 18 U.S.C. § 3161, subd.

[h][1][D], [h][1][B] and [h][7][A]. However, in order to justify a continuance based on the ends

of justice, the record must contain a detailed explanation for why the mere occurrence of the

event identified by the party seeking a continuance results in the need for additional time.

United States v. Toombs, 574 F.3d 1262, 1271 (10th Cir. 2009).
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       2.      The defendant Mr. Dunsworth was arraigned in this case on January 8, 2019

before United States Magistrate Judge Karen B. Molzen on the charge of Possession of a Firearm

by a Felon. Mr. Dunsworth is in the custody of the United States Marshals and housed at the

Santa Fe County Adult Detention Center.

       3.      Discovery in this case was received January 16, 2019. Defense counsel received

additional items of discovery on March 11, 2019. Mr. Dunsworth’s criminal history required

further investigation.   On October 22, 2019, this Court granted defendant’s motion for a

Presentence Investigation Report, Form 13. (Doc. 36), which was completed on January 8, 2020.

A motion to suppress was litigated and the court issued its Memorandum Opinion and Order on

March 13, 2020. A second motion to suppress statement was filed on March 23, 2020. A response

is pending. Parties need additional time to complete litigation of this motion. Further, negotiations

continue.

       4.      Further, this case is scheduled immediately after the current order of the Court,

20-MC-04-15, expires. The Court, Chief District Court Judge William P. Johnson, ordered all

criminal jury trials set before May 1, 2020 to be continued. This order also explained that, given

the current social distancing requirements, it would be challenging to obtain an adequate cross-

section of the community for jury selection as well as to maintain appropriate distance during the

trial. It is unlikely that these circumstances will improve by May 4, 2020 to allow a trial to be

held. Additionally, although conferences by video are currently permitted, in person visits

between defendant and his counsel are not permitted at this time.

       5.      Mr. Dunsworth agrees, by the filing of this motion, that the period of continuance

will not be included in the calculation of time within which this cause must be disposed pursuant

to the Speedy Trial Act. 18 U.S.C. §3161(h)(7)(A). Failure to grant such a continuance would


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likely result in a miscarriage of justice. United States v. Toombs, 574 F.3d 1262, 1268 (10th Cir.

2009).

         6.      Defense counsel also respectfully requests a continuance of motion deadlines.

         7.      Assigned Special Assistant United States Attorney Thomas Outler does not

oppose this continuance.

         WHEREFORE, defendant Robert Dunsworth requests that the Court continue the trial of

his cause for 60 days, or as long as the court finds appropriate.

I HEREBY CERTIFY THAT on the                          Respectfully submitted,
20th Day of April 2020, I filed
the foregoing electronically through the              FEDERAL PUBLIC DEFENDER
CM/ECF system, which caused SAUSA                     111 Lomas NW, Suite 501
Thomas Outler to be served by electronic              Albuquerque, NM 87102
means, as more fully reflected on the                 (505) 346-2489
Notice of Electronic Filing.

                                                       /s/ filed electronically    .
                                                      IRMA RIVAS, AFPD
                                                      Attorney for Defendant
         filed electronically




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